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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA, et al.,

                         Plaintiffs,
                                                     Case No. 1:20-cv-03010-APM
 v.
                                                     HON. AMIT P. MEHTA
 GOOGLE LLC,

                         Defendant.


 STATE OF COLORADO, et al.,

                         Plaintiffs,

 v.                                                  Case No. 1:20-cv-03715-APM

 GOOGLE LLC,                                         HON. AMIT P. MEHTA

                         Defendant.



                STATUS REPORT REGARDING ANTHROPIC PBC’S
             MOTION FOR LEAVE TO PARTICIPATE AS AMICUS CURIAE

       Anthropic asks the Court to grant its pending motion for leave to participate as amicus

curiae. Plaintiffs’ Revised Proposed Final Judgment (“RPFJ”), ECF No. 1184-1, continues to

threaten harm to Anthropic and to competition in the generative artificial intelligence (“GenAI”)

market. Moreover, Anthropic is uniquely situated to provide insight into how Plaintiffs’

proposed remedies would stifle competition in the GenAI market, and that information will assist

the Court in crafting its remedial judgment.

       First, Anthropic remains concerned that the RPFJ would disrupt Anthropic’s business

and its relationship with a significant strategic partner. Although the RPFJ would not require

Google to divest its existing interest in Anthropic or directly prohibit future investments, it still
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would introduce substantial, unjustified cost, delay, and uncertainty that would be

disproportionate to Plaintiffs’ interest in protecting competition in search. Under the RPFJ:

           ● Google would be prohibited from acquiring “any interest” in “any company that

               controls a … GenAI Product,” including Anthropic, without providing Plaintiffs

               at least 30 days’ advance notice. Id. at 10.

           ● As part of its notice, Google would need to disclose its confidential business

               information, including “all management or strategic plans discussing the proposed

               transaction.” Id. at 11.

           ● If Plaintiffs requested unspecified “additional information” during the 30-day

               period, the transaction would be further delayed until Google submitted “all

               requested information”—for which there is no time limit—followed by an

               additional 30-day waiting period. Id.

Plaintiffs make no effort to tie this aspect of the RPFJ to the specific conduct for which Google

was found liable. Instead, they attempt to justify the RPFJ’s restrictions on Google’s future

investments in Anthropic by citing hypothetical concerns over “Google’s potential to use its

sizable capital to exercise influence in AI companies.” ECF No. 1184 at 8.

       The RPFJ would significantly delay any future Google investment in Anthropic and give

Anthropic’s competitors an unfair advantage in the fast-moving global AI race. Moreover, the

RPFJ’s cost, delay, and uncertainty could deter Google from investing in Anthropic altogether,

resulting in a loss of significant potential capital for Anthropic and making it more difficult for

Anthropic to negotiate favorable investment terms with other potential investors. See Brown




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Decl. (ECF No. 1165-2) ¶¶ 5–7, 10–15, 22. Anthropic should have the opportunity to respond to

this threat to its interests and explain the implications of the RPFJ. 1

        Second, Anthropic remains concerned that the RPFJ would adversely affect competition

in AI and adjacent markets. While Anthropic would face months-long funding delays, its main

competitors—including, notably, Google itself—would not be subject to similar limitations

because each is funded by a single technology-industry giant, tilting the playing field in their

favor. The RPFJ would thus reduce competition in AI by enabling these tech giants to capture

more market share and increase their dominance. See id. ¶¶ 8–9, 23. Moreover, by harming

Anthropic, the RPFJ would also harm competition in the AI chip market and the market for

cloud computing services, two markets where Anthropic’s purchases foster competition. See id.

¶¶ 6–7, 16–17, 24–25. When addressing antitrust violations, courts “must be careful to avoid”

imposing remedies that “might chill competition, rather than foster it.” New York v. Microsoft

Corp., 224 F. Supp. 2d 76, 136 (D.D.C. 2002) (quotation marks omitted).

        Third, Anthropic’s participation will benefit the Court. As previously noted, until the

Government filed its PFJ, no testimonial or documentary evidence was introduced about AI, the

GenAI marketplace, or Anthropic. The consequences of restricting Google’s AI investments

were never examined, and the Court never heard the perspective of companies like Anthropic

that rely on those investments to compete at the AI frontier. As a leading independent AI

company, Anthropic is uniquely positioned to address Plaintiffs’ stated concerns about Google’s

influence and to explain how the RPFJ would, paradoxically, undermine Plaintiffs’ goal of




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  The RPFJ “maintains the core components of [Plaintiffs’] initial proposal”—such as requiring
Google to divest Chrome and potentially Android as well, ECF No. 1184 at 3, 7—confirming
that Google cannot be expected to prioritize the aspects of the RPFJ that will affect Anthropic.
See ECF No. 1165-1 at 10–11.


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“open[ing] up the market for rivals and new entrants.” ECF No. 1184 at 8. Anthropic’s proposed

declarations would also address these issues.

       Anthropic asks the Court to grant its motion to participate as amicus curiae in full,

including the submission of up to two declarations.

Dated: March 14, 2025

                                                    Respectfully submitted,

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